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Philip G. Jones, (1748)
Chapter 7 Trustee
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 In re:                                                Bankruptcy Case Number
                                                       19-23840-JTM
 NOAH CORPORATION,
                                                       [Chapter 7]
           Debtor.


                  TRUSTEES SUPPLEMENTAL REPORT DATED 01/12/2021

          COMES NOW, Philip G. Jones, Trustee, and submits the following Supplement to his report

to the Court dated 12/05/2020:

                                              Introduction

          1. After the filing of the Trustees Report, the Trustee and his Accountant were contacted by

a number of individuals familiar with Noah’s operations and provided additional information that

contradicted information in the Report and opened additional avenues of investigation.

          2. As a result, it was felt appropriate to supplement the original Report

                                      Cost of Venue Construction

          3. It is alleged that the construction cost of the venues was substantially lower than indicated

by Bowser at the 341 Hearing. The actual cost was $1.9 to $2.1 million per venue, even though

Noah had received as much as $4.9 million to construct each venue.




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         4. It appears that Noah simply spent all of the funds it received from whatever source

without segregating those funds for their appropriate purposes. This appears to be the reason five

of the venues were never build.

         5. It also appears that Noah misrepresented the use of funds received.1 According to one

email:

                 Mr. Bowser asserts he had already spent millions on site work, permits and pre-built
         walls at each site, but that is not true. In Carmel, for instance, we still do not have permits
         issued. In fact, I spoke to Mr. Brad Jensen in April 2019, when Noah first defaulted on its
         rent obligations. He runs operations for Gabriel Construction and is Bowser's son-in law. I
         asked him if it was true that site work had been done, windows had been ordered and money
         spent for construction.
                 Mr. Jensen told me he did not know how I could have been told that since they
         weren't even scheduled to hire a contractor until the late fall of 2019, more than a full year
         after Noah had received our money from Rockwell. The building was supposed to be
         completed in early spring of 2019 and according to Bowser, they already had weddings
         scheduled.
                 None of that was true. That preliminary money Bowser claims he spent on each
         property is simply more money that vanished. And to corroborate, according to the
         Inspectional Services Dept in Carmel, Indiana, as of April 2019, there was no site work done
         at Carmel. Since there were no permits the town would have filed an injunction against Noah
         if work had begun prior to issuance. The land had been purchased by Rockwell in June 2018
         and Noah did not even incur that cost. So the difference between our $4.9 million and the $2
         million it would have cost to construct the building represents Noah's profit.

         6. There is also a question as to how Noah received “construction draws” for work that had

not been done.2

                              Venues Attempting to Work with Noah

         7. Substantial efforts were apparently made to do a pre-bankruptcy work out with Noah.



         1
         Unbuilt Properties - Completion Plan. An Excel Spreadsheet prepared by Bowser. This
report shows $663,000.00 in expenditures for Interior Complete, Exterior Brick/Awnings, Site,
and Contingency on the Carmel site.
         2
             Draw Sheet.

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        8. Over 30 separate Turn Around Plans were created by Bowser and Norm Merritt.

        9. Unfortunately, it appears that these plans provided no protection to the property owners.

                 Carmel ... voted against version 31 of the work out plan where Bil Bowser proposed
        the owners should sign over their land to Noah in exchange for a long-term note meant to
        repay our investment.
                 Since the land represented the only value we had from our investments, the owners
        said no. We were exploring other avenues with Mr. Bowser. but he basically said we could
        either turn over the land and take the note or we would get nothing. Having already been
        defrauded by Mr. Bowser, we were loathe to give him land which he would likely sell and
        use to repay us for a short period of time, defaulting on our loan and giving up all our rights
        to litigate. That is where we left off when Noah filed bankruptcy. We were still exploring
        other options and had not shut off working out a new contract.

        10. A potential bankruptcy was used as leverage by Noah, who appears to have been

contemplating bankruptcy months rather than days before the actual filing.3

        11. It also appears that as part of negotiations, Noah disclosed additional debt in the amount

of $5,176,808 to a group called the Credit Club.4

                                          Noah as Alter Ego

        12. It is alleged that Noah was operated as an Alter Ego for Bowser and other insiders:5

Loans

                Bowser repeatedly took 'loans" out from the company which he never paid back.
        This was admitted in a letter from BTJD in response to our lawyer's (Clyde Snow) inquiries
        on our behalf. These loans began in 2005 and were added on and rewritten time and again
        so as to extend out the maturity date.
                It should be noted that these loans consisted of construction loans which were used
        to build Bowser and his wife a small home above a garage on his Peoa Utah property as well
        as compensation that was "reclassified" years later as loans. After constructing this
        residence, Mr. and Mrs. Bowser tore down their original home which by all accounts was in


        3
            TIC Owners Update and Conference Call Summary.
        4
            Noah’s Debt Schedule.
        5
            Investors Letter.

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       poor shape.
              After constructing this apartment which contained an office with company funds, Mr.
       Bowser then leased the "office" to Noah Corp. When Noah Corp was unable to pay the
       monthly rent, Mr. Bowser was then allowed to write off some of the construction loan.
              The signatures on most of the loan documents for both lender and borrower are
       William Bowser.

Rockwell Payments

               Bil Bowser consistently told all shareholders including my husband and I that he had
       not taken any payments from Rockwell at any time. However, the lawyers from BTJD later
       admitted in writing to myself and one other shareholder that from time to time Bowser did
       accept payments for helping to close deals. On his personal income tax records for 2016, he
       noted he had received $102,000 thru Walby Inc. It was only after we pressed him that he did
       admit to receiving these payments but noted that Walby Inc was actually owned by his wife
       Susanna Bowser. We have since learned that the payments in 2016 actually were $58,000
       more than the amount documented on his tax return. It would stand to reason that if Mr.
       Bowser took steps to conceal the true amount for 1 year, he most likely did this for additional
       years as well.

Salaries

              Mr. Bowser has never been consistent about the amount of compensation he received
       from Noah, Gabriel, Rockwell, or any other entity. Within a 12 month period, 2017 - 2018,
       we received several writings from him which stated he was only making $84,000 per year.
       Then it changed to $105,000, then $120,000, then $150,000 until finally under oath his
       testimony revealed he was actually receiving salaries from Noah, Gabriel Management, and
       Gabriel Construction but he continued to maintain he did not receive anything from
       Rockwell except when forced to admit it because he had provided us his 2016 tax return.

Insider Payments

                In reviewing company ledgers from 2014, 2015, 2016, 2017 as well as those filed in
       the bankruptcy we saw over and over again large reimbursements to Mr. and Mrs. Bowser
       as well as other insiders such as Steve Trumbo, Ron, and Nancy Neil, and other Bowser
       family members. Additionally, it should be noted that most of these figures were whole
       numbers rather than actual reimbursements which would most likely be odd numbers. (i.e.
       $15,000 vs. $14,832.67)
                Numerous family members were employed by the company regardless of their skill
       set or capabilities. We had asked several times for Mr. Bowser to provide us with resumes
       for his family members to show that they were indeed the best-qualified employees and he
       consistently refused. By Mr. Bowser's own admission many of his family members including
       his elderly mother were employed by Noah's.


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                Following are some of the family members employed: Susanna Bowser, wife; Hayley
         Gardner, daughter; Kate Jensen, daughter; Scott Jensen, son in law; Brandon Jensen, Scott's
         brother; Eric Wynn, stepson; Marilyn Bowser, mother; Mark Bowser, brother' Michael
         Bowser, brother; Andrew Bowser, nephew. There were other company insiders who also
         employed their family members as well.

                                        Deceptive Practices

         13. It is alleged that Noah kept its investors in the dark regarding the actual status and

operations of the company.

Business Structure

                  Bowser formed numerous LLC's in what appears to be an effort to confuse
         shareholders and conceal the true financial picture of the company.
                  In researching the company we discovered over 25 different LLC's formed and in
         reading your Trustee report have now discovered 3 additional LLC;'s that were previously
         unknown. In my conversations with shareholders, most shareholders had no idea this was
         going on and no reasonable explanation was ever given by Mr. Bowser as to why this was
         happening. A perfect example is Henfinas, LLC. In reviewing the company ledgers I noticed
         many payments being paid to this LLC and discovered this was another LLC began by
         insider Nancy Neal. From Board notes, I found that this company was formed to purchase
         supplies for the buildings. Why? As a business owner myself, this did not make sense to
         me. Later I had a shareholder with inside information tell me that Henfinias was actually
         paying an insider to do the buying of supplies and this was a way for them to filter money
         to that insider.

Shares

                 Mr. Bowser told me personally that in setting a value on the shares, he just picked a
         number and used that. Many of Noah's shareholders are over 70.5 and held their shares
         within their IRA's. These individuals consistently asked Mr. Bowser for him to create a way
         for them to take their required RMD's every year as they were getting hit with tax penalties.
         Mr. Bowser consistently acknowledged this was a problem and told them he would work on
         it but never did. Had he really been looking out for the best interest of the shareholders he
         could have revalued the shares since there was actually nothing to substantiate the value he
         "picked".
                 Mr. Bowser consistently sold shares for varying prices sometimes to the same people
         within the same year. Several shareholders have told me Bowser charged them anywhere
         from $1.00 per share to $7.50 per share. He would often offer shareholders a deal but then
         when they came back to take advantage of the reduced share price they were told they had
         to purchase at the higher amount.


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              On several instances, he told all shareholders at the annual meeting as well as
       individuals that he had not sold any shares since 2014 or 2015 however he later admitted in
       conversations with my legal counsel that he should not have said this as he continued to offer
       warrants, options and convertible notes for sale which of course was a dilution of shares.

Lack of Reports

               Mr. Bowser never allowed a financial audit. In fact, when Jill Kirshnamuthry
       promised an audit on March 2, 2018, she was fired by the end of the month. In a
       conversation with me personally, she disclosed that as she pressed more and more for access
       to the company books and records Bowser became more and more distant until he abruptly
       terminated her at the end of March. He also fired the accounting firm she had hired to do the
       audit as was disclosed to me by Tanner and Company. He then concealed this termination
       and canceled audit from all shareholders until I discovered Jill was gone at the end of June.
       On July 3, 2018, he sent an update to shareholders finally revealing Jill was no longer with
       the company but he continued to assert an audit was in the works until he revealed in a
       meeting with lawyers present that the audit had been canceled in March.6

                                         SEC Complaint

       14, It appears that an SEC Complaint was filed against William J. Bowser, Christopher J.

Ashby, Scott W. Beynon, and Jordan S. Nelson on December 30, 2020.

       15. The Complaint lays out in detail how investors purchased “security interests” and were

then systematically defrauded.7

                          Preferential Transfers and Insider Payments

       16. The Trustee’s Accountant has obtained an Excel Spreadsheet as well as additional

information that seems to indicate a greater number of preferential transfers and insider payments



       6
         Another investor stated: He is not an innocent victim of greedy landlords. He avoided
financial scrutiny and even fired the CEO of Duo Ventures (Jill Krishnamurthy) after she told
board members at a meeting that she had engaged a financial firm to audit the books of Noah and
she would be making quarterly financial reports available. Bil refused to give her access to the
financials for the firm she was ostensibly running and then fired her shortly thereafter. He also
fired the financial firm.
       7
           Complaint in case 2:20-cv-00918-TS.

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than had been previously disclosed to him.

       17. Potential preferential transfers of $624,781.00 were discovered.8

       18. Potential insider transfer of more than $2,033,459 have been discovered.9

                                           Conclusions

       19. The information provided to the Trustee comes from individuals associated with unbuilt

venues as well as earlier investors in Noah.

       20. It appears that funds provided to Noah by investors as well as clients were treated in the

same way. They were simply spent with no effort to spend those funds on their stated purpose.

       21. The Trustee still does not have a clear idea of where all the funds went that were paid

to Noah.

       22. Most of the companies expenditures do not have appropriate documentation.

       23. A detailed investigation would likely find many more inappropriate transfers (or transfers

that the Debtor could not prove were for legitimate business purposes).

       24. The Operations of the Debtor do not pass the smell test.

       25. Potential improper transfers have increased from $1,195,210.57 to $3,853,450.57.

       26. It is clear to the Trustee that even in a best case scenario, where all known improper

transfers were collected and there were no costs of collection, less than 32% would be returned to

priority and/or administrative claims ($12,034,509.73) and no return would be made to unsecured

creditors. If it could be proved that the $13,000.000.00 cancellation of debt was part of a fraud

scheme, then there might be funds available for unsecured creditors.


       8
           Attachment to Memo from Accountant.
       9
           Memo from Accountant.

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       27. In an ideal world a full investigation would be made to give closure to investors and

clients of the Debtor, and clearly identify the malfeasance that may have taken place.

       Dated this 12th day of January, 2021



                                      /s/ Philip G. Jones
                                      Philip G. Jones, Trustee




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                                 DRAW SHEET




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           TIC OWNERS UPDATE and CONFERENCE CALL SUMMARY




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                           NOAH’S DEBT SCHEDULE




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                              INVESTORS LETTER




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                                  COMPLAINT




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                          MEMO FROM ACCOUNTANT




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